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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
         CAVE MAN KITCHENS INC.,
 8                             Plaintiff,
                                                       C18-1274 TSZ
 9            v.
                                                       MINUTE ORDER
10       CAVEMAN FOODS LLC,
11                             Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)     The trial date of December 7, 2020, and related deadlines, see docket
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   nos. 36 & 101, is STRICKEN pending the Court’s ruling on the Motion for Summary
   Judgment, docket no. 103. The Court will promptly reset the trial date and related
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   deadlines, if appropriate, after it rules on the pending Motion for Summary Judgment,
   docket no. 103, and the Motion Requesting Judicial Notice, docket no. 112.
16
           (2) The Clerk is directed to send a copy of this Minute Order to all counsel of
17 record.

18         Dated this 6th day of November, 2020.

19
                                                   William M. McCool
20                                                 Clerk

21                                                 s/Gail Glass
                                                   Deputy Clerk
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     MINUTE ORDER - 1
